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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HENRI MAALOUF, et al.,
         Plaintiffs,
                 v.                                     Civil Action No. 16-0280 (JDB)
 ISLAMIC REPUBLIC OF IRAN, et al.,
         Defendants.


 KENNETH MARK SALAZAR, et al.,
         Plaintiffs,
                 v.                                     Civil Action No. 16-1507 (JDB)
 ISLAMIC REPUBLIC OF IRAN,
         Defendant.


                                   MEMORANDUM OPINION

       Before the Court are two cases arising out of the terrorist attacks on the United States Embassy

in Beirut, Lebanon, on April 18, 1983, and September 20, 1984. Plaintiffs are relatives of individuals

who died as a result of the terrorist attacks. They bring these actions against the Islamic Republic of

Iran seeking compensatory damages for wrongful death, solatium, and intentional infliction of

emotional distress. Henri Maalouf and the estates of his parents and sister also sue the Iranian

Ministry of Information and Society (“MOIS”) and seek punitive damages in addition to

compensation.

       Plaintiffs do not write on a blank slate. In each case, their complaints point to a previous

default judgment against Iran and an award of damages to similarly situated relatives. See Am.

Compl. [Maalouf ECF No. 13] ¶¶ 1–5; Compl. [Salazar ECF No. 1] ¶¶ 2–3, 7–8; see generally Estate



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of Doe v. Islamic Republic of Iran, 808 F. Supp. 2d 1 (D.D.C. 2011); Salazar v. Islamic Republic of

Iran (“Salazar I”), 370 F. Supp. 2d 105 (D.D.C. 2005). Plaintiffs argue that these judgments and

damages awards should provide a ready model for resolving the cases presently at bar.

       Although the tragic events giving rise to the present suits are grievously weighty and the

damages sought substantial, the task for the Court is straightforward. The Court will first review the

posture of these two cases as well as its previous findings of facts and legal rulings—“specifically,

its findings that Iran and MOIS were indeed responsible for supporting, funding, and otherwise

carrying out the unconscionable attack[s].” Dammarell v. Islamic Republic of Iran, 281 F. Supp. 2d

105, 108 (D.D.C. 2003). Taking judicial notice of these findings of fact and following its previous

legal rulings, the Court will then turn to the submissions from each set of plaintiffs and evaluate

whether these plaintiffs too are legally entitled to compensation. Finally, the Court will set forth its

legal and remedial conclusions for the two sets of plaintiffs.

       The Court concludes that the Salazar plaintiffs are entitled to compensatory damages totaling

$10 million. The Maalouf plaintiffs, on the other hand, do not specify the state or foreign law upon

which their causes of action are based, and thus will be given a chance to amend their complaint.

                                            BACKGROUND

       On April 18, 1983, a car bomb exploded at the U.S. embassy in Beirut, Lebanon, killing at

least fifty-two people and injuring more than thirty-four others. Doe, 808 F. Supp. 2d at 7. “The

bombing was the first large-scale attack against a United States Embassy anywhere in the world,”

and although responsibility for the bombing was not immediately apparent, the U.S. State

Department determined by 1984 that the Lebanese Shi’a group Hizbollah had perpetrated the attack

with support and encouragement from Iran. Dammarell, 281 F. Supp. 2d at 111–12. On January 19,

1984, President Reagan “designated Iran a state sponsor of terrorism” in response to its role in

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sponsoring several terrorist attacks in Lebanon, including the April 18, 1983 bombing. Id. at 113.

Later that year, on September 20, 1984, a second bomb exploded at the U.S. embassy annex in East

Beirut, killing at least eleven people and injuring over fifty. Doe, 808 F. Supp. 2d at 7.

       Since that time, a number of plaintiffs have filed cases in this District on behalf of bombing

victims and their families. Relying on the “terrorism exception” embedded in the Foreign Sovereign

Immunities Act (“FSIA”), 28 U.S.C. §§ 1602–11, these plaintiffs alleged that because Iran and its

agents provided material support to Hizbollah in organizing and executing these attacks, Iran was

liable for compensatory and punitive damages. In a series of prior rulings, this Court has agreed and

found Iran and its agents liable for wrongful death, loss of solatium, battery, intentional infliction of

emotional distress, and other forms of economic damages arising out of the Beirut Embassy

bombings. See, e.g., Doe, 808 F. Supp. 2d at 21–23; Salazar I, 370 F. Supp. 2d at 113–15;

Dammarell, 281 F. Supp. 2d at 192–99.

       Of these prior rulings, Doe and Salazar I provide the basis for plaintiffs’ present claims. In

each case, although properly served by the plaintiffs, Iran never appeared in this Court. Doe, 808 F.

Supp. 2d at 13; Salazar I, 370 F. Supp. 2d at 108. Following ex parte hearings under 28 U.S.C.

§ 1608(e), the Court concluded that Iran was not immune from suit in either case and that Iran was

liable to the victims of the 1983 and 1984 bombings. Doe, 808 F. Supp. 2d at 23–24; Salazar I, 370

F. Supp. 2d at 117. The Court entered final judgments in Salazar I in May 2005 and in Doe in May

2013, awarding a total of $18.3 million in compensatory damages in the former and over $8.4 billion

in compensatory and punitive damages in the latter. See Estate of Doe v. Islamic Republic of Iran,

943 F. Supp. 2d 180, 183–84 (D.D.C. 2013); Order, Salazar I, No. 1:02-cv-0558 [ECF No. 27]. Iran

never appeared in Court to appeal these judgments.

       The two present cases are nearly identical to Doe and Salazar, but are brought by different

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family members of each bombing victim. Plaintiff Henri Maalouf, a Lebanese citizen, is the older

brother of Edward Maalouf, a security guard killed in the embassy annex bombing in 1984. Maalouf

Am. Compl. ¶ 9; see also Decl. of Pl. Henri Maalouf (“Maalouf Decl.”) [Maalouf ECF No. 31-1]

¶¶ 1, 5, 9. Henri was unaware of the Doe litigation because he had lost contact with his family in

Lebanon after moving to London. Maalouf Decl. ¶¶ 50–53. He became aware of the lawsuit in July

2015, when traveling to Lebanon to visit his ailing sister. Id. ¶ 53. In light of the previous Doe

litigation, he and the estates of his sister Gaby and his parents sue Iran and the MOIS for causing

Edward’s death, for loss of solatium, and for intentional infliction of emotional distress. Maalouf

Am. Compl. ¶¶ 4, 10–12, 28–40.

       Plaintiffs Kenneth and Kevin Salazar are the twin sons of Mark Salazar, a U.S. staff sergeant

killed in the 1983 embassy bombing. Salazar Compl. [Salazar ECF No. 1] ¶ 11. They were unaware

of the previous Salazar suit and allege that Donna Salazar, the plaintiff in that suit, claimed that she

was Mark’s widow when the two were not legally married and that she did not inform Kenneth and

Kevin of her case. Id. ¶¶ 3–7. Kenneth and Kevin now sue Iran for causing Mark’s death and for

intentional infliction of emotional distress. Id. ¶¶ 26–33.

       As in previous cases, Iran has never appeared in this Court, and the Clerk of this Court has

entered default against defendants in both cases. See Default [Maalouf ECF No. 30] at 1; Default

[Salazar ECF No. 8] at 1. Plaintiffs filed default judgment motions against defendants in both suits.

Pls.’ Mot. for Default J. [Maalouf ECF No. 31] at 1; Pls.’ Mot. for Default J. [Salazar ECF No. 13]

at 1. On March 30, 2018, this Court set aside the defaults and dismissed plaintiffs’ claims as

untimely. Maalouf v. Islamic Republic of Iran, 306 F. Supp. 3d 203, 213 (D.D.C. 2018). The D.C.

Circuit reversed, holding that this Court “lack[ed] authority to sua sponte raise a forfeited statute of

limitations defense in an FSIA terrorism exception case, at least where the defendant sovereign fails

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to appear.” Maalouf v. Islamic Republic of Iran, 923 F.3d 1095, 1101 (D.C. Cir. 2019). Plaintiffs’

motions for default judgment are thus once more before this Court and ripe for consideration.

                                          LEGAL STANDARD

       The FSIA, 28 U.S.C. §§ 1602–1611, is the “sole basis for obtaining jurisdiction over a foreign

state in the United States.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434

(1989). While foreign states are generally immune from the jurisdiction of U.S. courts, see 28 U.S.C.

§ 1604, the FSIA provides for federal court jurisdiction over foreign entities in a limited set of

circumstances and based on a set procedure. Subject matter jurisdiction exists if the defendant’s

conduct falls within one of the specific statutory exceptions to immunity. See id. §§ 1330(a), 1604.

And a federal court can obtain personal jurisdiction over a foreign-state defendant if the plaintiff

properly serves the defendant in accordance with 28 U.S.C. § 1608. See id. § 1330(b).

       At play here is the “state sponsor of terrorism” exception set forth in 28 U.S.C. § 1605A.

That exception affords subject matter jurisdiction in cases where “money damages are sought against

a foreign state for personal injury or death that was caused by an act of torture, extrajudicial killing,

aircraft sabotage, hostage taking, or the provision of material support or resources for such an act”

when such actions are taken “by an official, employee, or agent of such foreign state while acting

within the scope of his or her office, employment, or agency.” Id. § 1605A(a)(1).

       Section 1605A(c) establishes a federal cause of action for victims of terrorism and their

families to seek damages from “state sponsors of terrorism that took part in [the] attack[s] or

materially supported the perpetrators.” See Maalouf, 923 F.3d at 1101–02. In order for a district

court to enter default judgment against a foreign state, “the claimant [must] establish[] his claim or

right to relief by evidence satisfactory to the court.” 28 U.S.C. § 1608(e); cf. Fed. R. Civ. P. 55(d)

(setting out the standard for entering default judgment against the United States). “The district

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court . . . has an unusual degree of discretion over evidentiary rulings in a FSIA case against a

defaulting state sponsor of terrorism,” and “only where the court relies upon evidence that is both

clearly inadmissible and essential to the outcome has it abused its discretion.” Owens v. Republic of

Sudan, 864 F.3d 751, 785–86 (D.C. Cir. 2017).

                                              ANALYSIS

      I.   Jurisdiction

       This Court has jurisdiction over these two cases because service was properly effected on

Iran (and, for the Maalouf plaintiffs, on the MOIS) and defendants’ conduct falls within the “state

sponsor of terrorism” exception established in § 1605A.

       “A foreign state or its political subdivision, agency, or instrumentality must be served in

accordance with 28 U.S.C. § 1608.” Fed. R. Civ. P. 4(j)(1). Section 1608(a) lays out four methods,

in descending order of preference, for serving a foreign state, and plaintiffs must attempt service by

a more preferred method, or conclude that such a method is impracticable, before proceeding to the

next method. See Doe, 808 F. Supp. 2d at 12. The first two methods are inapplicable in these cases

because no “special arrangement for service” exists between the United States and Iran, 28 U.S.C.

§ 1608(a)(1), and Iran is not a party to any “international convention on service of judicial

documents,” id. § 1608(a)(2). Aceto v. Islamic Republic of Iran, No. CV 19-464 (BAH), 2020 WL

619925, at *14 (D.D.C. Feb. 7, 2020). Plaintiffs also reasonably concluded that service by mail on

Iran and its agencies under 28 U.S.C. § 1608(a)(3) “would be futile” as it is “known to be ineffective.”

Aff. Requesting Foreign Mailing [Maalouf ECF No. 4] at 1; Aff. Requesting Foreign Service [Salazar

ECF No. 5] at 1.

       Plaintiffs thus resorted to the fourth method of service: sending their papers via diplomatic

channels to Iran. See 28 U.S.C. § 1608(a)(4). On February 18, 2016, and August 22, 2016, plaintiffs

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in Maalouf and Salazar, respectively, requested the Clerk of the Court to transmit the proper

documents to the U.S. Department of State for diplomatic service under § 1608(a)(4). Maalouf Aff.

Requesting Foreign Mailing at 1–2; Salazar Aff. Requesting Foreign Mailing at 1–2. On June 28,

2016, and February 1, 2017, respectively, the U.S. Department of State informed the Court that

service had been properly effected on the defendants. Return of Service [Maalouf ECF No. 11] at 1;

Return of Service [Salazar ECF No. 6] at 1. When defendants did not respond or make an appearance

within sixty days, the Clerk entered defaults under § 1608(d). See Maalouf Default at 1; Salazar

Default at 1.

       Plaintiffs have also established that Iran qualifies under the “state sponsor of terrorism”

exception set forth in § 1605A. In order to fall under the exception, the foreign state must have been

“designated as a state sponsor of terrorism at the time” of the terrorist attack or “so designated as a

result of [the] act” and remain so designated at the time of the lawsuit.                  28 U.S.C.

§ 1605A(a)(2)(A)(i)(I). The claimant or victim must also have been either a U.S. national, a member

of the armed services, or “otherwise an employee of the Government of the United States” or a

government contractor, at the time of the tortious act. Id. § 1605A(a)(2)(A)(ii).

       As noted above, “Iran was formally declared a ‘state sponsor of terrorism’ on January 19,

1984, by U.S. Secretary of State George P. Schultz . . . , and remains designated as a state sponsor of

terrorism.” Doe, 808 F. Supp. 2d at 13–14. Plaintiffs also satisfy the citizenship requirements of

§ 1605A(a)(2)(A)(ii) because, at the time of the attacks, all plaintiffs either were themselves

American citizens, as with Kenneth and Kevin Salazar, see Salazar I, 370 F. Supp. 2d at 113, or were

related to a U.S. Government employee, as with Henri Maalouf and his other family members, see

Doe, 808 F. Supp. 2d at 13. Finally, the deaths of Sgt. Salazar and Edward Maalouf, on which the

plaintiffs’ claims are based, have both previously been found to qualify as “extrajudicial killing[s]”

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for which Iran or its agents provided material support, as required by § 1605A(a)(1). See Salazar I,

370 F. Supp. 2d at 113; Doe, 808 F. Supp. 2d at 13–16.

        In sum, this Court has subject matter and personal jurisdiction under the FSIA because service

on defendants was proper and the cases satisfy the other technical requirements for the “state sponsor

of terrorism” exception of § 1605A.

     II.    Iran’s Liability for the Beirut Embassy Bombings

        With jurisdiction established, the Court turns to plaintiffs’ causes of action and Iran’s liability

for the Beirut Embassy bombings. “[L]iability in a default judgment case is established by the same

evidence [used to establish jurisdiction] if ‘satisfactory to the [c]ourt.’” Doe, 808 F. Supp. 2d at 17–

18 (quoting 28 U.S.C. § 1608(e)). As discussed above, much of the same evidence that established

Iran’s liability in previous cases will again serve as the basis for evaluating liability here.

                a. Salazar Plaintiffs’ Claims

        The Court begins with the claims brought by Kenneth Salazar and Kevin Salazar, the twin

sons of the late Staff Sergeant Mark Eugene Salazar. Their suit represents the second instance where

survivors of Sgt. Salazar have sought compensation for the suffering and hardship that resulted from

his death in the 1983 bombing. See Salazar I, 370 F. Supp. 2d at 107–09; see also Maalouf, 923 F.3d

at 1105–06. In the first suit, Donna Salazar sued Iran and its agents on behalf of herself and her

daughter Jennifer Salazar, raising claims of wrongful death, intentional infliction of emotional

distress, and solatium. Salazar I, 370 F. Supp. 2d at 114–15. The Court concluded that the Iranian

defendants were “liable to [Donna] for causing the wrong death of her husband” and “for intentional

infliction of emotional distress.” Id. Although Donna’s claim for solatium did not provide an

independent basis for suit, the Court also observed that, under Illinois law on which her suit was

based, “she [could] obtain the equivalent of solatium damages through her other causes of action.”

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Id. at 115.

        The present plaintiffs, Kenneth and Kevin Salazar, bring two claims: wrongful death under

the private cause of action afforded by 28 U.S.C. § 1605A(c) and intentional infliction of emotional

distress. Salazar Compl. ¶¶ 26–33. Section 1605A(c) creates a cause of action “for personal injury

or death caused by . . . a foreign state[‘s]” tortious acts and affords recovery for “economic damages,

solatium, pain and suffering, and punitive damages.” 28 U.S.C. § 1605A(c). Courts in this District

have recognized both wrongful death and intentional infliction of emotional distress as giving rise to

liability under § 1605A(c), see, e.g., Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204, 212

(D.D.C. 2012) (“An act that would otherwise constitute [intentional infliction of emotional distress]

gives rise to liability under the FSIA.”), and the Court finds these interpretations of the FSIA

persuasive here.

        The Salazar brothers “may pursue section 1605A(c)’s private right of action as they are [both]

United States citizens.” Estate of Hirshfeld v. Islamic Republic of Iran, 330 F. Supp. 3d 107, 137

(D.D.C. 2018); see also 28 U.S.C. § 1605A(c)(1). But the FSIA does not provide the substantive

basis for their claims. See Hirshfeld, 330 F. Supp. 3d at 137–38. A federal district court is not to

articulate legal theories and elaborate “federal common law,” but is to “rely on well-established

principles of law, such as those found in Restatement (Second) of Torts and other leading treatises,

as well as those principles that have been adopted by the majority of state jurisdictions to outline the

boundaries of [plaintiffs’] theories of recovery.” Oveissi v. Islamic Republic of Iran (“Oveissi II”),

879 F. Supp. 2d 44, 54 (D.D.C. 2012) (internal quotation marks omitted). The Court thus evaluates

each of the Salazar plaintiffs’ two claims under such “well-established principles of law.” Id.

        They first bring a wrongful death claim, seeking “compensatory damages . . . for pain and

suffering” stemming from the death of their father, Sgt. Salazar. Compl. ¶ 30. “Any deaths resulting

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from an act of terrorism under section 1605A are properly considered wrongful deaths.” Doe v.

Democratic People’s Republic of Korea Ministry of Foreign Affairs Jungsong-Dong, No. 18-cv-0252

(DLF), 2019 WL 5597740, *12 (D.D.C. Oct. 22, 2019) (alternations omitted) (quoting Shoham v.

Islamic Republic of Iran, No. 12-cv-508 (RCL), 2017 WL 2399454, at *18 (D.D.C. June 1, 2017)).

But Kenneth and Kevin Salazar are oddly positioned to bring such a claim. The FSIA permits

wrongful-death actions to be brought on behalf of the estate of the decedent for the economic losses

resulting from the decedent’s untimely death. See Lelchook v. Syrian Arab Republic, Civil Action

No.: 16-1500 (RC), 2019 WL 4673849, at *3 (D.D.C. Sept. 25, 2019). In Salazar I, for instance,

Donna Salazar brought a claim for wrongful death in her capacity as administrator of Sgt. Salazar’s

estate. See Am. Compl. for Damages Pursuant to the Foreign Sovereign Immunities Act, Salazar v.

Islamic Republic of Iran, Civil Action No. 1:02CV00558 [ECF No. 21] at 6.

       Here, by contrast, the plaintiffs bring the claim on behalf of themselves to compensate for

their pain and suffering. Salazar Compl. ¶¶ 26–30. Although compensatory damages “for the

emotional anguish of [a decedent’s] surviving kin” have been considered under a wrongful-death

framework by some courts, see, e.g., Wagner v. Islamic Republic of Iran, 172 F. Supp. 2d 128, 134–

37 (D.D.C. 2001), the Court finds these claims overlap with plaintiffs’ claim for intentional infliction

of emotional distress and are more easily considered through that cause of action. See also Valore

v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 77 (D.D.C. 2010) (“The Court notes that these

plaintiffs who have claimed assault, battery, and [intentional infliction of emotional distress] may

recover under only one of any such theories, as multiple recovery is prohibited.”).

       The Court thus turns to plaintiffs’ second claim, for intentional infliction of emotional

distress. Under the Restatement, “[o]ne who by extreme and outrageous conduct intentionally or

recklessly causes severe emotional distress to another is subject to liability for such emotional

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distress, and if bodily harm to the other results from it, for such bodily harm.” Heiser v. Islamic

Republic of Iran, 659 F. Supp. 2d 20, 26 (D.D.C. 2009) (citing Restatement (Second) of Torts

§ 46(1)). “The scope of recovery under this theory is limited by two qualifications: the plaintiff must

be ‘a member of [the injured person’s] immediate family’ and must be ‘present at the time.’” Oveissi

II, 879 F. Supp. 2d at 54 (quoting Restatement (Second) of Torts § 46(2)(a)–(b)).

        Kenneth and Kevin Salazar satisfy each of these requirements. In the previous Salazar

lawsuit, brought under Illinois law, the Court concluded that “[t]he uncontroverted evidence at trial

was that Sgt. Salazar’s killing resulted in severe emotional trauma to [Donna and Katherine Salazar].

Defendants intentionally caused these injuries, in fact and proximately, by planning, supplying, and

supporting the Embassy bombing in which Sgt. Salazar was killed.” Salazar I, 370 F. Supp. 2d at

115. Like Sgt. Salazar’s daughter Katherine, Kenneth and Kevin are both members of Sgt. Salazar’s

immediate family. See Attach. C. to Pls.’ Mot. for Default J. (“Birth Certificates”) [ECF No. 13-3]

at 2–3. Like Katherine, they also experienced significant hardship as a result of Sgt. Salazar’s

absence and have struggled without his support in their lives. Decl. of Kenneth Mark Salazar

(“Kenneth Decl.”) [ECF No. 13-5] ¶¶ 7–14; Decl. of Kevin Michael Salazar (“Kevin Decl.”) [ECF

No. 13-6] ¶¶ 7–13. And while the claimant often must be present at the time of the tortious event,

see Oveissi II, 879 F. Supp. 2d at 54, “[c]ourts have uniformly held that a terrorist attack—by its

nature—is directed not only at the victims but also at the victims’ families.” Salazar I, 370 F. Supp.

2d at 115. Thus, the Salazar plaintiffs may recover against Iran for intentional infliction of emotional

distress.

                b. Maalouf Plaintiffs’ Claims

        The Maalouf plaintiffs sue Iran and the MOIS for loss of solatium and intentional infliction

of emotional distress. Maalouf Am. Compl. ¶¶ 34–40. They also assert a cause of action for Edward

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Maalouf’s wrongful death under § 1605A(c). Maalouf Am. Compl. ¶¶ 28–33. Unlike Kenneth and

Kevin Salazar, none of the Maalouf plaintiffs is a U.S. national or otherwise satisfies that subsection’s

citizenship requirement. See 28 U.S.C. § 1605A(c). Although Edward’s status as a contractor

satisfies the statutory requirement for jurisdiction, see id. § 1605A(a)(2)(A)(ii), the federal cause of

action is limited to claimants who are themselves citizens, members of the armed forces, government

contractors, or the legal representatives thereof, id. § 1605A(c). The Maalouf plaintiffs do not satisfy

this requirement, and they thus cannot rely on the federal cause of action provided by § 1605A(c).

See Doe, 808 F. Supp. 2d at 20 (“[T]hose plaintiffs who are foreign national family members of

victims of the terrorist attacks in Beirut lack a federal cause of action.”). While these plaintiffs can

rely on “applicable state and/or foreign law” when bringing a claim under the FSIA, id., they do not

specify in their complaint or otherwise “a particular cause of action arising out of a specific source

of law” other than the FSIA, Dammarell v. Islamic Republic of Iran, No. Civ.A. 01-224JDB, 2005

WL 756090, *2 (D.D.C. Mar. 29, 2005) (internal quotation marks omitted).

       Plaintiffs suggest that, “[a]s members of [Edward’s] immediate family, his parents and

siblings . . . are entitled to bring this action in their own names and on their own behalves” under

§ 1605A(c), Maalouf Pls.’ Mot. for Default J. at 4, but this argument is incorrect, see Doe, 808 F.

Supp. 2d at 20. Still, this Court will afford plaintiffs an opportunity to amend their complaint to

plead state or foreign causes of action against Iran and the MOIS with the necessary detail under the

law. See Dammarell, 2005 WL 756090, at *2.

    III.    Damages

       “To obtain damages against a non-immune foreign state under the FSIA, a plaintiff must

prove that the consequences of the foreign state’s conduct were ‘“reasonably certain” (i.e., more

likely than not) to occur, and must prove the amount of damages by a “reasonable estimate”

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consistent with this [Circuit]’s application of the American rule on damages.’” Salazar I, 370 F.

Supp. 2d at 115–16 (quoting Hill v. Republic of Iraq, 328 F.3d 680, 681 (D.C. Cir. 2003)). As this

Court concluded in Salazar I, “it was reasonably certain that Sgt. Salazar’s death and the attendant

suffering of his family would occur given defendant[’s] actions.” Id. at 116. Plaintiffs do not seek

any compensatory damages for Sgt. Salazar’s lost salary, potential earnings, or the costs associated

with his funeral. Instead, Kenneth and Kevin each seek compensatory damages for intentional

infliction of emotional distress. See Salazar Compl. ¶¶ 31–33.

       This Court appointed a special master “for the administration of the compensatory damages

claims” of the Salazar plaintiffs. Order Appointing Special Masters [Salazar ECF No. 24] at 3. The

special master “received evidence with regard to all issues of compensatory damages,” and in line

with this Court’s decision in Valore v. Islamic Republic of Iran, has recommended that $5 million is

the “appropriate monetary compensation” for each brother. R. & R. of Special Master [Salazar ECF

No. 27] at 2, 9–10; see also Valore, 700 F. Supp. 2d at 85–87 (outlining factors to be considered in

calculating damages for claims of solatium and/or intentional infliction of emotional distress). This

award is also consistent with the award of $5 million to Katherine, Sgt. Salazar’s daughter. See

Salazar I, 370 F. Supp. 2d at 116.

                                          *       *       *

       Finally, plaintiffs seek compensation for the costs of this suit, “including reasonable

attorneys’ fees, as well as pre-judgment interest and such other relief as the Court shall [deem] just

and equitable.” Maalouf Am. Compl. at 8; Salazar Compl. at 6. “[B]ecause the plaintiffs have not

provided any information regarding the fees and costs sought, the request is denied without

prejudice.” Aceto, 2020 WL 619925, at *23. But “plaintiffs may file post-judgment motions for

attorneys’ fees in accordance with Federal Rule of Civil Procedure 54(d)(2)(B) and for costs in

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accordance with Federal Rule of Civil Procedure 54(d)(1).” Aceto, 2020 WL 619925, at *23. The

Court also refrains from awarding prejudgment interest because the compensatory awards for each

Salazar plaintiff “represent the appropriate level of compensation, regardless of the timing of the

attack.” See Oveissi v. Islamic Republic of Iran (“Oveissi I”), 768 F. Supp. 2d 16, 30 n.12 (D.D.C.

2011); see also Oveissi II, 879 F. Supp. 2d at 59 (gathering cases wherein prejudgment interest was

denied).

                                           CONCLUSION

       For the foregoing reasons, the Court concludes that the Maalouf plaintiffs have stated valid

causes of action under state and/or foreign law, but that their amended complaint must be further

amended to provide greater specificity of the legal basis for their claims. The Court also concludes

that the Salazar plaintiffs have demonstrated significant loss as a result of Iran’s deliberate and

extreme conduct. Because the evidence in the record and this Court’s prior decisions amply support

the allegations in their complaint, judgment will be entered for the Salazar plaintiffs on their

intentional infliction of emotional distress claim and compensatory damages of $10 million—$5

million for each brother—will be awarded. A separate order will be issued on this date.

                                                                                /s/
                                                                         JOHN D. BATES
                                                                    United States District Judge
 Dated: February 18, 2020




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